Appellant was convicted of the offense of driving an automobile upon a public highway while intoxicated; and his punishment was assessed at confinement in the county jail for a period of thirty days and a fine of $150.  From which judgment of conviction, he has appealed to this court.
Appellant has a number of bills of exceptions in the record, some of which were filed too late to be considered.  Moreover, the statement of facts is incorporated in the transcript, which is in violation of Art. 760, Subdivision 2, of Vernon's Ann.C.C.P., as amended by the 42nd Legislature.  See also Beevers v. State, Tex.Cr.App., 209 S.W.2d 175; and Reece v. State, Tex.Cr.App., 209 S.W.2d 177.  Therefore, the same cannot be considered by this court and in the absence of a statement of facts, the bills of exceptions which were filed within the time prescribed by law cannot be properly appraised.
The complaint and information appear to be in due form. Consequently, the record fails to disclose any error.
Therefore, the judgment of the trial court is affirmed.
Opinion approved by the Court.
On Appeallant's Motion for Rehearing